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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                  :
   TROY CLOWDUS                                   :
                                                  :     CIVIL ACTION
                  Plaintiff,                      :     DOCKET NO.: 1:21cv23155
          v.                                      :
                                                  :
   AMERICAN AIRLINES, INC.                        :
                                                  :
                  Defendant.                      :
                                                  :

      DEFENDANT’S CROSS-MOTION FOR SANCTIONS AGAINST PLAINTIFF AND
                          PLAINTIFF’S COUNSEL

          NOW COMES Defendant, AMERICAN AIRLINES, INC. (hereinafter, “AA” or
   “Defendant”), by and through undersigned counsel and pursuant to this Court’s July 26, 2022
   Notice [DE 73], and files this Cross-Motion for Sanctions and states as follows:
                                          INTRODUCTION
          1.      Plaintiff’s Motion for Sanctions [DE 55] (“Plaintiff’s Motion”) and Plaintiff’s
   Notice of Filing Certified Translated Documents in Support of Plaintiff’s Reply to Defendant’s
   Response to Motion for Sanctions [DE 72-1] (“Plaintiff’s Translation”) provide indisputable
   record proof that Plaintiff and/or Plaintiff’s counsel (through Plaintiff’s Mexican “criminologist”
   affiliated with multiple Mexican and U.S. governmental entities) have “persuaded” previously co-
   operative favorable witnesses to discontinue cooperation with Defendant and to materially change
   their prior (in one instance, sworn) version of events. This effort follows this Court’s comments at
   a May 24, 2022 hearing that AA lacked any testimony from non-AA affiliated witnesses to support
   its version of the events at issue, thus telegraphing to Plaintiff’s counsel the importance of
   forestalling AA’s access to those witnesses.
          2.      Indeed, a “new and improved” affidavit was extracted by Plaintiff’s “criminologist”
   from Juan Hernandez-Ramirez (“Hernandez-Ramirez”) on May 27, 2022 in which he contradicts
   his own prior (sworn) and subsequent recitations of the events at issue, and indeed his own
   lawyer’s summary of his knowledge. Further, the version of events recounted in the
   “criminologists” affidavit extracted from Hernandez-Ramirez contradicts the version of events
   recounted by every other passenger who has been deposed or provided statements in this case. The
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   possibility that these witnesses now are willing to present for deposition is of little solace since,
   given the wildly inconsistent sworn statement Hernandez-Ramirez was “persuaded” to provide to
   Plaintiff’s “criminologist” and Jairo Espinoza’s (“Espinoza”) disavowal of his sworn declaration
   provided to defense counsel, they have been neutralized as effective witnesses – the obvious,
   foreseeable and intended result of the intervention of Plaintiff’s “criminologist” who was
   (according to Plaintiff’s text messages) being goaded and pressured to do just that.
                                   PLAINTIFF’S WITNESS TAMPERING
                         Dr. Eduardo Muriel Melero – Plaintiff’s “Criminologist”
            3.       Plaintiff’s criminologist – Dr. Eduardo Muriel Melero (“Muriel”) - claims to be
   registered with and/or working for the U.S. Embassy in Mexico City - the U.S. governmental
   agency with authority to revoke U.S. travel visas for Mexican nationals including Espinoza and
   Hernandez-Ramirez. His website reveals he is a nationally known criminologist who has worked
   with multiple Mexican governmental agencies and authorities, investigating kidnappings, murders,
   mutilations and organ trafficking and that he is a “security advisor” for major business interests in
   Mexico. He touts his major press and media coverage for his work on behalf of various Mexican
   governmental entities investigating mass murders and trafficking.
            4.       For example, his work investigating kidnappings, rapes by local police, mutilations
   and murders along the Texas/Mexico border for the Attorney General of the Mexican State of
   Chihuahua was chronicled in “The Daughters of Juarez: A True Story of Serial Murder South of
   the Border”. As recounted in the book, “unlike the FBI investigators, much fanfare surrounded
   the arrival of Dr. Muriel and his team.” Similar to how AA’s Mexican counsel, Mauricio Fernandez
   (“Fernandez”), described his law firm and defense counsel’s law firm (i.e., “important” and
   “prestigious”) in his June 6 text to Hernandez-Ramirez, Muriel describes his company as the “First
   and Most Prestigious Investigation Agency” in Mexico. His history with and connections to the
   Mexican and U.S. governments are easily discovered with a simple Google search if not through
   print, radio and television media.
            5.       In March 2022, Plaintiff hired Muriel 1 to locate and “persuade” 2 several Mexican
   passengers on the flight in question to provide accounts of events favorable to Plaintiff’s claims.

   1
     Plaintiff’s Translation [DE 72-1] at page 1- attached as Ex. A. See also Plaintiff’s Translation [DE 72-1] at pp. 2-3
   and 23-25.
   2
     Plaintiff’s Translation [DE 72-1] at page 36 of 77 – Plaintiff’s text to his criminologist - “[Muriel]…will you keep
   working with the student in Pueblo [Jairo Espinoza]? Will you visit him in person [and] persuade him to help
   us?”- attached as Ex. B.


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   Plaintiff insisted on in-person “persuasion” because he feared “that if [Muriel] call[ed] them
   by phone…they will say that they did not see or witness anything.” 3 Plaintiff was well aware
   of Muriel’s “skills” in this regard as Muriel bragged about his ability to provide “a complete
   description of addresses and places they visit regularly, friends, activities and marital status.”4
   Muriel’s contact with these passengers preceded the May 24, 2022 hearing before this Court, but
   within the time frame during which Plaintiff’s counsel was forcing his theories of the case on and
   threatening unrepresented non-party witnesses including Federico Quintana, Angelica Cookson,
   and Elja Keizer. 5 He was also disparaging defense counsel during the same time frame to those
   unrepresented non-party witnesses. Text messages recently filed by Plaintiff establish that Plaintiff
   was himself engaged in the same deplorable conduct as his counsel when communicating with his
   “criminologist.” 6 There is every reason to believe the communications by Plaintiff’s criminologist
   with these passengers were similarly improper, offensive and misleading. Notably, Plaintiff has
   not produced any communications between his “criminologist” and Espinoza, Hernandez-
   Ramirez or any other passenger Plaintiff’s “criminologist” was hired to “persuade.”
   Defendant requests that Plaintiff be ordered to produce all communications between his
   “criminologist” and Espinoza, Hernandez-Ramirez or any other passenger Plaintiff’s
   “criminologist” was hired to “persuade.”
                            Plaintiff’s Unbridled Deployment of his Criminologist
                                               Juan Hernandez- Ramirez
            6.       Defense counsel’s office interviewed Hernandez-Ramirez on February 28, 20227
   and sent him a draft declaration to sign on March 1, 2022 accurately stating his recounting of
   events on the flight at issue. 8 Plaintiff’s Motion posits that Hernandez-Ramirez did not sign AA’s
   draft declaration “because it did not accurately reflect what he told the representative from



   3
     Plaintiff’s Translation [DE 72-1] at page 9 of 77 - attached as Ex. N.
   4
     Plaintiff’s Translation [DE 72-1] at page 6 of 77 – attached as Ex. P.
   5
     March 9, 2022 email from Plaintiff’s counsel to Federico Quintana, May 2 & 4, 2022 emails from Plaintiff’s counsel
   to Angelica Cookson and March 8, 2022 email from Plaintiff’s counsel to Elja Keizer, attached as composite Ex. C.
   6
     Plaintiff’s Translation [DE 72-1] at page 29 of 77 (“this witness [Quintana] is committing perjury] with respect to
   where he lives); page 31 of 77 (“he [Merino] says he now works for TV Azteca but I am almost certain that this is not
   true…if he does not work there, it is worth more than $850 [and] will prove his is a liar”); page 42 of 77 (“he [Quintana]
   is a friend of the flight attendant [Merino]..he lied about what he saw and lied about his father…”); and page 67 of 77
   (“I think that the airline hired the Mexican firm in order to bribe Juan {Hernandez-Ramirez] and Jairo [Espinoza] for
   their testimony.”) – attached as composite Ex. D.
   7
     Plaintiff’s Motion [DE 55] at p. 5; Pecchio declaration attached as Ex. E
   8
     March 1, 2022 email (and translation) to Hernandez-Ramirez attached as Ex. F


                                                               3
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   American.” 9 Plaintiff’s Motion concedes (and defense counsel have represented that) Hernandez-
   Ramirez never told defense counsel anything of the sort; 10 Hernandez-Ramirez’ May 27, 2022
   affidavit obtained by Plaintiff’s criminologist says no such thing; 11 and his June 8, 2022 email to
   Plaintiff’s “criminologist” fails to identify a single material inaccuracy or omission.12 However,
   Hernandez-Ramirez’ June 8, 2022 email does vaguely suggest he declined to sign the draft
   declaration because it was inaccurate. With the production of Plaintiff’s text messages with his
   “criminologist,” we now know why Hernandez-Ramirez’ made this false claim in his email – it
   was fed to him on June 8, 2022 – the same day as his email - by Plaintiff’s “criminologist” with
   the explicit knowledge of and acquiescence by Plaintiff. 13 This known manipulation of Hernandez-
   Ramirez on June 8 flies in the face of Plaintiff’s self-serving purported May 24 email to his
   “criminologist” urging him not to “coach” witnesses. 14 There is no record evidence this email was
   ever sent to, received by or read by Plaintiff’s “criminologist.” Further, by knowingly filing and
   relying on Hernandez-Ramirez’ June 8, 2022 email containing the “criminologist’s” implanted
   false statement, Plaintiff’s counsel has violated Florida Rule of Professional Conduct, Rule 4-
   3.3(4) – “A lawyer shall not knowingly…offer evidence that the lawyer knows to be false.”
            7.       A side by side comparison 15 of AA’s March 1, 2022 draft declaration for
   Hernandez-Ramirez, 16 his June 8, 2022 email to Plaintiff’s criminologist (summarizing his
   recollection of events on the flight), 17 and the intervening May 27, 2022 signed affidavit obtained
   by Plaintiff’s criminologist 18 reveals that, with respect to the critical issue on which Plaintiff’s
   “criminologist” was hired to “persuade” Hernandez-Ramirez (i.e., whether he heard the “you
   hit me” comment), AA’s draft declaration is identical to the Hernandez-Ramirez’ email summary,
   both of which sharply and materially deviate from the affidavit extracted by Plaintiff’s


   9
     Plaintiff’s Motion [DE 55] at p. 5, and Ex. C [DE 55-3], ¶ 10; see also Plaintiff’s Reply to Defendant’s Response to
   Motion for Sanctions [DE 66] at p. 4.
   10
      Plaintiff’s Motion [DE 55] at p. 5 – “he decided not to reply” to AA’s transmission of the draft affidavit. See also,
   Pecchio declaration attached as Ex. E and Kolb declaration attached as Ex. G.
   11
      Plaintiff’s Motion [DE 55], Ex. B [DE 55-2] – attached as Ex H.
   12
      Plaintiff’s Motion [DE 55], Ex. D [DE 55-4] – attached as Ex. I.
   13
      Plaintiff’s Translation [DE 72-1] at page 62 of 77 - attached as Ex. O – Muriel text to Plaintiff: “better than what
   you want, I am going, in some way, to ask [Hernandez-Ramriez] to tell us…that he did not sign anything because he
   did not agree with what they sent him as a declaration and…that he never accepted or informed anyone what happened
   on the plane that day…”
   14
      May 24, 2022 email from Plaintiff to E. Muriel [DE 66-3].
   15
      Side by side comparison attached as Ex. J.
   16
      Draft Hernandez-Ramirez declaration, attached as Ex. K.
   17
      Plaintiff’s Motion [DE 55], Ex. D [DE 55-4] – attached as Ex. I.
   18
      Plaintiff’s Motion [DE 55], Ex. B [DE 55-2] – attached as Ex H.


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   “criminologist” on the critical issue of publication. Moreover, with respect to the critical issue of
   publication, AA’s draft declaration and Hernandez-Ramirez’ June 8, 2022 email summary are
   consistent with the July 4, 2022 summary of Hernandez-Ramirez’ version of events provided by
   his attorney – i.e., he heard nothing. 19 In sum, at Plaintiff’s insistence that his criminologist
   “personally meet” with Hernandez-Ramirez and “persuade” him to “help us,” Plaintiff’s
   “criminologist” obtained a sworn affidavit from Hernandez-Ramirez which contradicts every
   description of events Hernandez-Ramirez (and his attorney) have ever provided on the one issue
   critical to the survival of Plaintiff’s sole remaining claim - publication. 20 Further, by knowingly
   filing and relying on Hernandez-Ramirez’ May 27, 2002 affidavit (extracted by Plaintiff’s
   “criminologist”) in which Hernandez-Ramirez falsely claims he heard the flight attendant’s “you
   hit me” statement, heard Plaintiff apologize and had numerous other conversations with the flight
   attendant about Plaintiff’s assault, Plaintiff’s counsel has violated Florida Rule of Professional
   Conduct, Rule 4-3.3(4) – “A lawyer shall not knowingly…offer evidence that the lawyer knows
   to be false.”
            8.       Second, Plaintiff’s “criminologist” was so “persuasive” in extracting Hernandez-
   Ramirez’ cooperation that he prevailed on Hernandez-Ramirez to misrepresent to AA’s Mexican
   counsel his willingness to be involved in this case at all. Specifically, in a June 6-7, 2022 email
   exchange between AA’s Mexican counsel (Fernandez) and Hernandez-Ramirez, Hernandez-
   Ramirez responds that he is busy and did not want to be involved. 21 However, as Plaintiff’s Motion
   makes clear, Hernandez-Ramirez was deeply involved with Plaintiff’s criminologist at that time,
   having sat for interviews with the criminologist between May 8 and May 27, 2022, 22 having
   provided an affidavit on May 27, 2022 23 and having provided his text messages with Fernandez
   on June 8 24 - – just one day after he told Fernandez he did not want to be involved. Nevertheless,
   Hernandez-Ramirez felt compelled to conceal from AA’s Mexican counsel that deep and




   19
      July 4, 2022 email from Letter from Julio Cesar Ramirez y Villafana [DE 66-7] – “Juan Pablo Hernandez
   Ramirez…had no knowledge of [events on the aircraft] because he was sleeping at the time of the incident…”
   20
      This Court’s April 29, 2022 Dismissal Order [DE 32] at p. 8 stated that “Plaintiff has failed to adequately allege
   publication- both for Defendant’s statements onboard the flight and Defendant’s intra-corporate communications.”
   21
      Text string between Hernandez-Ramirez and Fernandez with an English translation is attached as Ex. L.
   22
      Plaintiff’s Motion [DE 55], Ex. C [DE 55-3], ¶¶ 5-6.
   23
      Plaintiff’s Motion [DE 55], Ex. C [DE 55-3], ¶ 7 and Ex. H attached hereto
   24
      Plaintiff’s Motion [DE 55], Ex. C [DE 55-3], ¶ 10. See also, Plaintiff’s Translation [DE 72-1] at page 59 of 77 –
   attached as Ex. Q.


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   continuing involvement with Plaintiff’s “criminologist,” despite his unfettered cooperation with
   AA just months earlier. 25
            9.       The only known intervening circumstance which could plausibly explain
   Hernandez-Ramirez’ refusal to continue cooperating with defense counsel, his 180 degree change
   of his version of events on the one issue critical to Plaintiff’s claim and his willingness to
   misrepresent his level of involvement in this case to AA’s Mexican counsel is his contact by and
   “persuasive” communications with Plaintiff’s “criminologist.” 26 This is no coincidence. It is direct
   proof of witness tampering – directed by Plaintiff – by a “criminologist” who is unwilling to
   present for deposition 27 or produce his communications with anyone he has “personally met” with
   to “persuade.”
                                                     Jairo Espinoza
            10.      Plaintiff’s “criminologist” was also hired 28 to “personally meet” with and
   “persuade” Espinoza 29 to provide accounts of events favorable to Plaintiff’s claims. Plaintiff’s
   “criminologist” located Espinoza on May 5, 2022. 30 Any communications between Plaintiff’s
   criminologist and Espinoza would be just as troublesome as the criminologist’s communications
   with Hernandez-Ramirez, as argued above in paragraph 6. Just as Hernandez-Ramirez has
   discontinued his cooperation with defense counsel and completely changed his version of events
   following his communications with Plaintiff’s “criminologist,” Espinoza stopped communicating
   with defense counsel immediately after his contact with the “criminologist” even though he had
   earlier agreed (in March 2022) to sit for deposition. 31 Fortunately, the criminologist was not as
   persuasive in trying to manipulate Espinoza as he was with Hernandez-Ramirez. On the critical
   issue of whether Espinoza heard the flight attendant’s “you hit me” statement, his July 1, 2022




   25
      Pecchio declaration attached as Ex. E.
   26
      Mauricio Fernandez’s (AA’s counsel in Mexico) attempted communications with Hernandez-Ramirez occurred
   after Plaintiff’s “criminologist” obtained the May 27, 2022 affidavit from Hernandez-Ramirez, the first occurring on
   May 31, 2022.
   27
      Plaintiff’s Translation [DE 72-1] at page 18 of 77 – attached as Ex. R.
   28
      Plaintiff’s Translation [DE 72-1] at page 1 of 77 - attached as Ex. A; Plaintiff’s Motion [DE 55], Ex. C [DE 55-3]
   at ¶3.
   29
      Plaintiff’s Translation [DE 72-1] at page 36 of 77 – Plaintiff’s text to his criminologist - “[Muriel]…will you keep
   working with the student in Pueblo [Jairo Espinoza]? Will you visit him in person [and] persuade him to help us?” -
   attached as Ex. B.
   30
      Plaintiff’s Translation [DE 72-1] at page 34 of 77 - attached as Ex. M.
   31
      Pecchio declaration attached as Ex. E.


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   affidavit 32 confirms the accuracy of the declaration he executed for defense counsel in March,
   2022. 33
              11.    However, Espinoza now claims he wants the signed declaration he executed for
   defense counsel in March, 2022 to be invalidated because his “English is not very good overall
   and there were some words [he] did not understand” when the declaration was provided to him.34
   To the contrary, when Espinoza was interviewed by defense counsel’s practice assistant (who is
   fluent in Spanish), Espinoza demonstrated that he spoke and understood English and he never
   voiced any need for a translation or a concern that he was not understanding what was being
   discussed. 35
              12.    As with Hernandez-Ramirez, the only known intervening circumstance which
   could plausibly explain Espinoza’s refusal to continue cooperating with defense counsel is his
   contact by and “persuasive” communications with Plaintiff’s “criminologist.” Again, this is no
   coincidence. It is direct proof of witness tampering – directed by Plaintiff – by a “criminologist”
   who is unwilling to present for deposition or produce his communications with anyone he has
   “personally met” with to “persuade.”
              13.    Of the thousands of attorneys and investigators available in Mexico, Plaintiff chose
   the most high profile, well known “criminologist” investigator in Mexico - and one with close ties
   to both the U.S. and Mexican governments in investigating mass murders, mutilations, rapes by
   law enforcement officers and disappearances. It does not strain credulity to conclude that the
   simple fact of Muriel’s introduction to Hernandez-Ramirez and Espinoza (without more) would
   have been sufficient impetus for these previously cooperative young witnesses to: 1) to discontinue
   cooperation with AA; 2) to cause Hernandez-Ramirez to misrepresent his desire not to be involved;
   and 3) to cause Hernandez-Ramirez to change his story 180 degrees on the one issue (publication)
   critical to the thin survival of Plaintiff’s remaining claim. Further, as the July 4, 2022 email from
   counsel for Hernandez-Ramirez and Espinoza makes clear, it was the involvement of Plaintiff’s
   “criminologist” which caused them to retain counsel for protection. 36
                                                  Federico Quintana

   32
      Plaintiff’s Reply to Defendant’s Response to Motion for Sanctions, Ex F [DE 66-6] at p. 5 – “I could not listen to
   what [the flight attendant and the Plaintiff] were saying because I had earphones on…”
   33
      Espinoza Declaration of Intent [DE 66-6] at p. 5.
   34
      July 1, 2022 Espinoza affidavit [DE 66-6] at pp. 5-6.
   35
      Declaration of Sonia San Martin – attached as Ex. AA.
   36
      July 4, 2022 email from Letter from Julio Cesar Ramirez y Villafana [DE 66-7] at p. 2 of 6 – “Hernandez-Ramirez
   [and]… Espinoza…requested my help to address the issue related to the call from Eduardo Muriel…”


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            14.      Mr. Quintana was a passenger on the flight in question and has provided deposition
   testimony that he observed Plaintiff assault AA’s flight attendant. He also testified that he provides
   English tutoring lessons in Mexico City. Plaintiff’s “criminologist” was also hired to probe Mr.
   Quintana’s background for impeachment evidence. Specifically, Plaintiff’s “criminologist” was
   instructed by Plaintiff to “do a full investigation and background report” on Mr. Quintana.37
   Plaintiff’s instructions were accompanied by intentional misrepresentations that Mr. Quintana
   “was a friend of the flight attendant” who was assaulted, 38 and that Mr. Quintana “lives in Miami
   [and] is a United States resident.” 39 Plaintiff went so far as to instruct his “criminologist” to engage
   in what can only fairly be characterized as an entrapment scheme whereby the “criminologist”
   would “make some arrangements so that a young woman can call [Quintana] and ask him…for
   English lessons [paid by Plaintiff] to find out where he lives…” 40 Countering, Plaintiff’s
   “criminologist” suggested that he could “send him a gift in order to find him…” 41 – all for the
   purpose of “impeaching” Quintana on the issue of his correct address.
        PLAINTIFF’S VIOLATION OF THE PARTIES’ CONFIDENTIALITY AGREEMENT
            15.      The level of dishonesty and chicanery evidenced by Plaintiff’s own texts with
   respect to relevant and material witnesses is compounded by the fact that Plaintiff and/or Plaintiff’s
   counsel unleashed their “criminologist” on these witnesses by disclosing the witness’ personal
   contact information to the “criminologist” and (unbelievably) publicly in violation of the parties’
   Confidentiality Agreement, attached as Ex. X. Specifically, the Confidentiality Agreement
   allows “discovery materials” (defined in paragraph 1(b) to include Rule 26 Disclosures) to be
   labeled “Confidential” (paragraphs 3 and 4(a)). The Agreement prohibits disclosure of confidential
   discovery materials except to a limited list of persons including (as relevant to Plaintiff’s
   disclosure) “experts and consultants…who are retained or consulted by counsel of record for any
   Party concerning the preparation and/or trial of this Lawsuit” (paragraph 5(a)). The Confidentiality
   Agreement was signed by William Woodrow on behalf of the Plaintiff on December 14, 2021.



   37
      Plaintiff’s Translation [DE 72-1] at page 20 and 24 of 77 - attached as Ex. S.
   38
      Plaintiff’s Translation [DE 72-1] at page 42 of 77 – attached as Ex. T. Both Quintana and the flight attendant have
   testified in deposition that they did not and do not know each other and there is no evidence to the contrary.
   39
      Plaintiff’s Translation [DE 72-1] at page 31 of 77 – attached as Ex. U. Quintana and his mother (Ms. Cookson)
   testified in deposition that Quintana has never “lived” in the U.S. but has visited for brief periods of time and Mr.
   Quintana testified in deposition that he is a Mexican national residing in Mexico City. There is no evidence to the
   contrary.
   40
      Plaintiff’s Translation [DE 72-1] at page 44 of 77 – attached as Ex. V.
   41
      Plaintiff’s Translation [DE 72-1] at page 45 of 77 – attached as Ex. W.


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            16.      AA’s March 2, 2022 Fifth Amended Rule 26 Disclosures 42 labeled the contact
   information for Espinoza, Hernandez-Ramirez, Quintana, and two other Mexican national
   passengers as CONFIDENTIAL. Plaintiff’s text messages reveal he disclosed the confidential
   contact information for all five witnesses to his “criminologist” – in some instances, cutting and
   pasting excerpts of AA’s Fifth Amended Rule 26 Disclosures of the witness’ contact information
   including the CONFIDENTIAL designation for that information. 43 Plaintiff’s counsel have
   disavowed any involvement with hiring or speaking with Plaintiff’s “criminologist” 44 – although
   this claim flies in the face of their assertion that communications with the criminologist are covered
   by the attorney work product privilege. 45 Since Plaintiff’s “criminologist” was not retained or
   consulted by Plaintiff’s counsel of record, Plaintiff’s disclosure of the confidential witness contact
   information to his “criminologist” violated the terms of the parties’ Confidentiality Agreement.
   Plaintiff’s violation of the Confidentiality Agreement was intentional since he was fully aware that
   the information was labeled confidential and is charged with knowledge of the existence of the
   Confidentiality Agreement and its terms.
            17.      Moreover, Plaintiff’s and his counsel’s public disclosure of the witness’
   confidential contact information – with not one but two public filings in this case 46 - also violates
   the terms of the Confidentiality Agreement (paragraph 5(e)) since there was no need for the Court
   to access that confidential information “in connection with the proceedings in this lawsuit.” Indeed,
   the public disclosure of the witness’ personal contact information appears to have been a purely
   gratuitous act by an out of control litigant and his counsel.
                                               REQUESTED RELIEF
                    Summary of the Harm Occasioned by Plaintiff’s “Criminologist”
            18.      Through the unbridled work of his “criminologist” selected, encouraged and
   managed by Plaintiff, Plaintiff has irrevocably altered the factual landscape of this case by
   obstructing AA’s access to and effectively neutralizing the usefulness and effectiveness of two
   non-AA affiliated witnesses this Court suggested were critical to resolution of the factual dispute



   42
      Redacted version of AA’s March 2, 2022 Fifth Amended Rule 26 Disclosure is attached as Ex. Y.
   43
      Plaintiff’s Translation [DE 72-1] at pp. 2-3 and 23-25. Plaintiff’s Translation [DE 72-1] at page 29 of 77 – attached
   as Ex. D.
   44
      Plaintiff’s Reply to AA’s Response to Plaintiff’s Motion for Sanctions [DE 66] at fn. 2.
   45
      Plaintiff’s Reply to Defendant’s Response to Motion for Sanctions [DE 66] at footnote 3 – “Although Clowdus’
   communications with [Muriel] are likely protected by the work produce and investigator privileges…”
   46
      DE 66-4, pages 2-3, 23-24 and 29 of 77, and DE 77-1, 2-3, 23-24 and 29 of 77.


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   at issue in this case - publication. Plaintiff’s actions were intentional, calculated and effective in
   that:
              •   Plaintiff hired his “criminologist to “persuade” critical witnesses to provide
                  accounts of events favorable to Plaintiff’s claims;
              •   Plaintiff hand-picked a “criminologist” who is nationally known for working with
                  various Mexican governmental entities investigating kidnappings, murders,
                  mutilations, etc. and some known to work for the U.S. Embassy empowered to
                  revoke the U.S. travel visas of the witnesses – i.e., someone whose mere
                  introduction would be sufficiently “persuasive” to extract the desired favorable
                  version of events;
              •   Plaintiff insisted his “criminologist” conduct in-person “persuasion” fearing that
                  telephonic contact would not be sufficiently “persuasive;”
              •   Plaintiff facilitated his “criminologist’s” persuasive efforts by unlawfully
                  disclosing the witness’ contact information in violation of the parties’
                  Confidentiality Agreement;
              •   Through the face to face “persuasive” efforts of Plaintiff’s criminologist,
                  Hernandez-Ramirez was “persuaded” to provide an affidavit contradicting every
                  description of events Hernandez-Ramirez has ever provided (before and after the
                  execution of the affidavit), including his attorney’s summary of what Hernandez-
                  Ramirez saw and hear, on the one issue critical to the survival of Plaintiff’s sole
                  remaining claim – publication;
              •   Plaintiff’s “criminologist” was so “persuasive” in extracting Hernandez-Ramirez’
                  cooperation that he prevailed on Hernandez-Ramirez (with Plaintiff’s knowledge
                  and consent) to falsely state in an email (now filed with this Court) that he did not
                  sign a draft declaration provided by defense counsel because it was materially
                  inaccurate;
              •   Prior to the intervention of Plaintiff’s “criminologist,” Hernandez-Ramirez and
                  Espinoza were cooperating with AA’s defense of this case as both had consented
                  to telephonic interviews (in which both confirmed they did not hear any statements
                  by the AA flight attendant) and Espinoza had signed a declaration accurately
                  summarizing his version of events and had agreed to sit for deposition;
              •   Following the intervention of Plaintiff’s “criminologist” just 90 days after defense
                  counsel’s last contact, both Hernandez-Ramirez and Espinoza have discontinued
                  their prior cooperation with defense counsel;
              •   Following the intervention of Plaintiff’s “criminologist” just 90 days after defense
                  counsel’s last contact, Hernandez-Ramirez has changed his recollection of events
                  from “I did not hear anything” (confirmed in his June 8, 2022 email to Plaintiff’s
                  criminologist) to “I heard ‘you hit me’ and I heard the passenger apologize”;




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                 •   Following the intervention of Plaintiff’s “criminologist” just 90 days after defense
                     counsel’s last contact, Espinoza now disavows the declaration he provided to
                     defense counsel. 47
                                                Responsible Parties
           19.       There is, therefore, a clear record of willful discovery abuse through witness
   tampering (facilitated by Plaintiff’s and Plaintiff counsel’s violation of the parties’ Confidentiality
   Agreement) directed by Plaintiff and obstruction of AA’s access to relevant and material
   witnesses. To now – after the “criminologist’s” persuasive efforts have achieved the desired effect
   - depose Hernandez-Ramirez and Espinoza would be to run a fool’s errand given their wildly and
   irreconcilably inconsistent sworn statements. They no longer have any credibility - the obvious,
   foreseeable and perhaps intended result of the intervention of Plaintiff’s “criminologist.” This
   resulting harm – neutralization of two critical witnesses identified by this Court – cannot be
   remedied.
           20.       Further, while Plaintiff’s counsel have denied hiring or encouraging Plaintiff’s
   “criminologist” to engage in witness tampering, 48 they have carefully not denied ongoing
   knowledge of his activities or the results of those activities, nor have they denied that they directed
   or oversaw Plaintiff’s handling of his “criminologist.” Indeed, they cannot since the record before
   this Court confirms Plaintiff was keeping his counsel fully apprised of the deployment of his
   “criminologist” and the results of his “persuasive” work on Hernandez-Ramirez and Espinoza. 49
   Plaintiff’s counsel are obviously relying on these persuasive results in their Motion seeking
   sanctions against defense counsel. They have, therefore, ratified and adopted the criminologist’s
   “work” and (inferentially, if not actually) the methods he utilized to obtain those results. They
   cannot plausibly accept the results of his “work” and simultaneously claim to be (willfully)
   ignorant of his methods. Further, since Plaintiff’s counsel cannot, through their client or their
   client’s “criminologist,” violate or attempt to violate the Florida Rules of Professional Conduct,


   47
      Espinoza July 1, 2022 affidavit [DE 66-6] at p. 6 – “…I want the statement that was pre-made by American Airlines
   and sent to me in PDF format be invalidated…”
   48
      David Pollack declaration at ¶4 [DE 66-1] – “I have never directed or encouraged Eduardo Muriel…to...influence
   the testimony of nay witness in this case…”; Declaration of William Woodrow at ¶4 [DE 66-2] – “I have never directed
   or encouraged Eduardo Muriel…to...influence the testimony of nay witness in this case…”.
   49
      Plaintiff’s Translation [DE 72-1] at page 29 of 77 – attached at Ex. D (“…it would be very useful for my attorney
   if you could find…Federico Quintana…”); Plaintiff’s Translation [DE 72-1] at pages 47-52, 59-60 and 74 of 77 –
   attached as Ex. Z (criminologist’s forwarding of Fernandez emails with Hernandez-Ramirez and Espinoza, later
   forwarded by Plaintiff to his counsel and made an exhibit to Plaintiff’s Motion [DE 55]; David Pollack declaration at
   ¶¶ 6-7 [DE 66-1] –“On June 13, 2002, I spoke with Eduardo Muriel to verify the facts contained in the Motion for
   Sanctions…[and] prepared a verified declaration for Mr. Muriel to sign.”


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   the obstructionist efforts of and witness tampering by Plaintiff and his “criminologist” are those
   of Plaintiff’s counsel. 50
           21.      Unlawfully obstructing another party’s access to evidence relevant to a pending
   action, or assisting another to do so, is a violation of Florida Rule of Professional Conduct 4-
   3.4(a) 51 and ABA Model Rule 3.4(f). 52 It is undisputed that Espinoza and Hernandez-Ramirez
   have (or had) relevant and material testimony relating to this pending action. It is undisputed that,
   following the intervention of Plaintiff’s criminologist, both witnesses have discontinued
   communicating with and cooperating with AA’s defense counsel, thus obstructing AA’s ability to
   access their testimony. It is undisputed that, following the intervention of Plaintiff’s criminologist,
   both witnesses have materially changed their version of events, rendering them useless as effective
   witnesses. It is undisputed, therefore, that Plaintiff’s counsel have violated Florida Rule 4-3.4 and
   Model Rule 3.4 for which this Court retains the inherent power to fashion an appropriate remedy
   even in the absence of a finding of bad faith. Harlan v Lewis, et. al, 982 F.2d 1255, 1260 (8th Cir.
   1993). Regardless, where a Court concludes that a party has obstructed an adversary’s access to
   relevant and material evidence, a finding of bad faith is implicit. Id.
                                                  Requested Relief
           22.      This Court’s inherent power to address fraud on the Court by presentation of
   doctored of false evidence is unquestioned. Chambers v NASCO, Inc., 501 U.S. 32, 46 (1991);
   Aoude v Mobil Oil Corp., 892 F.2d 1115, 1119 (1st Cir. 1989); Tesar v Potter, No. CIVA 9:05-
   00956, 2007 WL 2783386 at *8 (D.S.C. Sept. 12, 2007)(“dishonest litigants have a distinct
   advantage over their honest adversaries, for the victimized opponent winds up…consuming
   substantial resources to respond to and ‘undo’ the victimizer [sic] lies and distortions’”). “
           23.      Where, as here, a party is responsible for willful discovery abuse, particularly where
   that discovery abuse obstructs the adverse party’s access to relevant and material witnesses, death
   penalty sanctions are warranted. Betty K Agencies, Ltd. v M/V Monada, 432 F.3d 1333, 1338 (11th
   Cir. 2005). Since the misconduct recited above “relates to the pivotal or linchpin issue in the case”


   50
      Florida Rule of Professional Conduct 4-8.4(a) – “A lawyer shall not…violate or attempt to violate the Rules of
   Professional Conduct, knowingly assist or induce another to do so, or do so through the acts of another.”
   51
      Florida Rule of Professional Conduct 4-3.4 – A” lawyer must not: (a) unlawfully obstruct another party’s access to
   evidence or otherwise unlawfully alter, destroy, or conceal a document or other material that the lawyer knows or
   reasonably should know is relevant to a pending or a reasonably foreseeable proceeding; nor counsel or assist another
   person to do any such act.”
   52
      ABA Model Rule 4.3 – “A lawyer shall not…(f) request a person other than a client to refrain from voluntarily
   giving relevant information to another party unless….”


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   – i.e., publication - this Court may dismiss this action as a sanction pursuant to its inherent power.
   Qantum Comms. Corp. v. Star Broadcasting, Inc., 473 F.Supp.2d 1249, 1269 (S.D. Fla. 2007). See
   also, United States v Shaffer Equip. Co., 111 F.3d 450, 462 (4th Cir. 1993)(“When a party deceives
   a court or abuses the process to a level that us utterly inconsistent with the orderly administration
   of justice or undermines the integrity of the process, the court has the inherent power to dismiss
   the action.”
           24.     Death penalty sanctions against Plaintiff are appropriate here since: 1) Plaintiff
   himself guided, knew of and (at least) passively accepted the benefits of his “criminologist’s”
   “persuasive” efforts to alter witness testimony to such an extent that Hernandez-Ramirez’s own
   attorney confirms the falsity of the May 27, 2022 affidavit his client provided to Plaintiff’s
   “criminologist”; 2) The degree of Plaintiff’s wrongdoing is self-evident – he knowingly obtained
   and allowed his counsel to present to this Court Hernandez-Ramirez’s May 27, 2022 affidavit
   which falsely claims he heard the flight attendant say “you hit me” and heard the Plaintiff
   apologize, and which falsely claims he had a discussion with the flight attendant about the entire
   event – statements which the witness’ confirm are false; 3) the prejudice to the judicial system is
   severe – false evidence has been knowingly submitted to the Court and is the basis of Plaintiff’s
   Motion for Sanctions against defense counsel; 4) the prejudice to AA is unquestioned as AA and
   its counsel has been forced to expend substantial sums defending themselves against a specious
   Motion for Sanctions propped by demonstrably false evidence; 5) There are no sanctions short of
   dismissal which could remedy the harm done or punish/deter such conduct in the future,
   particularly since the majority of the misconduct was by Plaintiff himself and he is unlikely to
   participate in litigation in the future.
           25.     These concerns plus the fact that the misconduct discussed above goes to the merits
   of the case (and indeed has altered the facts of the case) combined with the reality that no lesser
   sanctions such as monetary fines can remedy or sufficiently punish or deter such conduct, strongly
   supports death penalty sanctions against Plaintiff. Quiroz v. Superior Bldg. Maint., Inc., No. 06-
   21594-CIV, 2008 WL 3540599 *5 (S.D. Fla. Aug. 12, 2008)(“This Court finds that monetary
   sanctions fail to address the severity of Mr. Quiroz's acts of witness tampering and perjury,
   which threaten the public's trust in our system of justice and disparage the core values for which it
   stands” “Litigants should not be left with the impression that they can abuse the judicial
   process and opposing parties by fabricating evidence concerning the core of their case and



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   simply pay a fine to absolve their misdeeds; “There is also an absence of any non-monetary
   sanction short of dismissal that is an appropriate response to Mr. Quiroz's acts.”). See also, Smart
   v. City of Miami Beach, Fla., 933 F. Supp. 2d 1366, 1380 (S.D. Fla. 2013), aff'd, 567 F. App'x 820
   (11th Cir. 2014)(dismissal affirmed where Plaintiff attempted to alter witness testimony);
   Benjamin v BWIA Airlines, No. 07-20017-CIV-, 2009 WL 10667416 at *7 (S.D. Fla. Jan. 13,
   2009)(ordering dismissal and award of fees when Plaintiff used fabricated documents). Thus,
   Defendant requests this Court strike Plaintiff’s Amended Complaint and enter an order of dismissal
   with prejudice pursuant to the Court’s inherent power.
            26.      Assuming the Court finds that the record does not support death penalty sanctions
   against Plaintiff, Defendant requests an order requiring Plaintiff and his counsel to produce all
   communications between Plaintiff’s “criminologist” and all witnesses he has interviewed for this
   case, within such time as this Court deems appropriate, and to defer ruling on this Motion until an
   appropriate time after production of the communications.
            27.      At a minimum, however, Defendant requests an order: 1) precluding Plaintiff’s use
   of the any declarations or affidavits obtained from either witness by Plaintiff, Plaintiff’s counsel
   or Plaintiff’s criminologist; 53 2) for an adverse jury instruction that Plaintiff and/or Plaintiff’s
   counsel have obstructed AA’s access to relevant and material witnesses Espinoza and Hernandez-
   Ramirez; 54 3) allowing AA’s counsel to read to the jury, over any hearsay or other objections, the
   signed declaration it obtained from Espinoza and the portions of the unsigned Hernandez-Ramirez
   declaration he has adopted; and 4) such other remedial measures this Court deems appropriate
   under its inherent power. Fed.R.Civ.P. 37(b)(2)(A)(i) and (ii).
                                                    CONCLUSION
            For the reasons argued above, AA respectfully requests that this Honorable Court grant
   Defendant’s Cross-Motion for Sanctions.




   53
      Immuno Vital, Inc. v Telemundo Group, Inc., 203 F.R.D. 561, 566-567 (S.D. Fla. 2001, Judge Moore) (“In addition,
   courts have stricken affidavit testimony where a party gives affidavit testimony but refuses to allow deposition
   questioning to test the veracity of the affidavit”; striking witness whose deposition sanctioned party declined to
   facilitate).
   54
       Id, at p. 574 (“In addition, some courts have decided to instruct the jury as to negative inferences that should be
   drawn from violation of discovery orders, in lieu of striking the infracting party's pleadings. However, courts and
   commentators have noted that ‘adverse inference instructions are one of the least severe sanctions which the court can
   impose and, therefore, often have very little deterrent effect.’”).


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                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7(a)(3)
          Undersigned counsel hereby certifies that he conferred with both counsel for Plaintiff by
   telephone on July 6, 2022. On August 5, 2022, the undersigned sent Plaintiff’s counsel a draft of
   this motion and conferred with Plaintiff’s counsel on August 8, 2022 in an effort to resolve the
   issues presented in this Cross-Motion. No agreement could be reached and, therefore, this Motion
   is presented as a contested Motion.


   Respectfully Submitted,

                                               BUCHANAN INGERSOLL & ROONEY PC

                                               s/ Kelly H. Kolb
                                               Kelly H. Kolb, Esq.
                                               Florida Bar Number: 0343330
                                               kelly.kolb@bipc.com
                                               Robert D. Pecchio, Esq.
                                               Florida Bar Number: 1005955
                                               Robert.pecchio@bipc.com
                                               401 East Las Olas Boulevard, Suite 2250
                                               Fort Lauderdale, FL 33301
                                               Telephone:     (954) 703-3944
                                               Facsimile:     (954) 703-3939
                                               Attorneys for Defendant




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 8th day of August 2022, a true and correct copy of the
   above and foregoing has been filed with the Clerk of Court using the CM/ECF system. I
   FURTHER CERTIFY that the foregoing document is being served this date, either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
   manner of those counsel or parties who are not authorized to receive electronically Notices of
   Electronic filing on the counsel of record or pro se parties identified on the attached Service List.

   SERVICE LIST:

   William T. Woodrow III
   250 West Main Street, Suite 201
   Charlottesville, VA 22902
   E-mail: will@stoneandwoodrowlaw.com

   Rook Elizabeth Ringer, Esq.
   LENTO LAW GROUP
   222 San Marco Ave., Ste. C
   St. Augustine, FL 32084
   Tel: (855) 275-7378
   Tel: (904) 602-9400
   E-mail: reringer@lentolawgroup.com

   David H. Pollack, Esq.
   THE LAW OFFICE OF DAVID H. POLLACK, LLC
   75 Valencia Avenue, Suite 100
   Coral Gables, FL 33134
   Tel. No. 305-372-5900
   Fax No. 305-372-5904
   david@davidpollacklaw.com
   Counsel for Plaintiff

                                                 By:     /s/ Kelly H. Kolb
                                                         Kelly H. Kolb
